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IN THE UNITED STATES DISTRICT COURT
FGR THE DISTRICT OF COLUMBIA COpieSfOZJudge

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UNI D ;TATES OF AMERICA,

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LEW_I§ 4_LIBB_Y_} APR 2 3 2010
cv|t@'\§ \1? `.' .`, ': ' ' s'*." " ’
"' }g ' , ‘
f a.= 1 1; m m /, a …, uls.o\smlcrcoum
MOTION F©§ RETURN OF PROPERTY UNDER RULE 41 G

 

COMES NOW, THE DEFENDANT I. LEWIS LIBBY, IN PRO-SE, MOVES

THIS HONORABLE COURT FOR A MOTION FOR RETURN OF SEIZED

PROPERTY BELONGING TO ME UNDER RULE 41 G. I ASKED THE
GOVERNMENT NUMEROUS TIMES FOR MY PROPERTY AND THEY REFUSE

TO GIVE IT BACK WHICH IS A CONSTITUTIONAL VIOLATION. THE
GOVERNMENT IS IN POSSESSION FOR NUMEROUS HIGH VALUE ITEMS

THAT BELONG TO ME WHICH I WOULD LIKE RETURNED, THE FOLLOWING

IS A LIST OF PRGPERTY WHICH IS MTNE THAT I WOULD LIKE TO

HAVE BACK: A SWATCH WATCH, ALL BLOGS AND RELATED MATERIAL

TO MY BEST FRIEND AND SUPPORTER JONATHAN LEE RICHES, A

COPY OF THE INDICTMENT BELONGING TO JGNATHAN LEE RICHES WHICH
IS CASE # h-OB-QO OUT OF THE SOUTHERN DISTRICT OF TEXAS,
JONATHAN LEE RICHES SIGNED AUTOGRAPH THAT I RECIEVED FROM

A GIFT EXCHANGE WITH PRESIDENT PUTIN. MY MANUSCRIPT ON THE
INVESTIGATION AND ILLEGAL INCARCERATION OF JONATHAN LEE RICHES.
I SEEK THE RETURN OF THIS PROPERTY AS THE STATUE OF LIMITATIONS
IS NOT UP YET IN ME PETITIONING THE COURT .I PRAY THIS
HONORABLE COURT WILL GRANT MY MOTION FOR RETUHN OF MY PROPERTY
FOR RELIEF.

RESPECTFULLY,

fle /aaj

I. LEWIS LIBBY m G`*O
Po BOX W?>\‘IBB\
BALTIMORE, MD 21207 -%7<3;

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CERTIFICATE OF SERVICE

 

I CERTIFY THAT THE FOLLOWING MOTION WAS SENT TO THE
FOLLOWING PARTIES ON APRIL 20, 2010 VIA THE UNITED STATES
POSTAL SERVICE T0:

PATRICK FITZGERALD DEBRA R. BONAMICI
UNITED STATES ATTORNEY OFFICE OF SPECIAL COUNSEL

cHIcAGO, IL 60601
CHICAGO, IL ¢60610

KATHLEEN KEDIAN PETER RGBERT ZEIDENBERG

US. DEPT. OF JUSTICE US DEPT. OF JUSTICE
1000 PENNSYLVANIA AVE 1000 PENNSYLVANIA AVE

WASHINGTON, DC 20001
WASHINGTON, DC 20001

RESPECTFULLY ,

`/

I. LEWIS LIBBY q'ZO"U

PO BOX 317$’2
BALTIMORE, MD 2120'7-%`7<6`2

